Where a negotiable paper is assigned, the transaction is to be regulated according to the laws of merchants, by which the assignee is bound to apply for payment within a reasonable time; and if that be either refused or delayed, he must give notice to the endorser, who is not liable unless these conditions be complied with. But with respect to unnegotiable papers, the law is otherwise, being constructed upon the principles of equity and natural justice; for it is right that he should suffer by the loss, whose misconduct has occasioned it. But where no loss really has happened, the assignee may recover the debt, although he has failed to give notice of nonpayment in reasonable time. He may return the paper, when he cannot procure the obligor to pay it. In the present case, no loss of the debts, which must fall either upon one or the other of the parties, has happened, for although the obligor is insolvent, yet the assignor is safe by means of the mortgage.
Verdict for the plaintiff.
NOTE — See Pons v. Kelly, 3 N.C. 45, and the cases referred to in the note thereto.
(147)